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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CAROLYN GARDNER                            : CIVIL ACTION
                                           :
               v.                          : NO. 22-1034
                                           :
KUTZTOWN UNIVERSITY, et al.                :



                                      ORDER

              AND NOW, this 9th day of June, 2022, IT IS HEREBY ORDERED that the
above captioned matter is REFERRED to United States Magistrate Judge
Richard A. Lloret for the purpose of scheduling and conducting a settlement conference.
Plaintiff’s counsel shall contact Judge Lloret’s chambers to schedule a conference upon
receipt of this order.



                                            BY THE COURT:



                                           /s/ Jeffrey L. Schmehl
                                           JEFFREY L. SCHMEHL, J.
